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                                  IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF OREGON
                                           PORTLAND DIVISION

             KELLY CAHILL, et al.,                           Case No. 3:18-cv-01477-AB

                                               Plaintiffs,   JOINT NEUTRAL STATEMENT OF
                                                             CASE
             vs.

             NIKE, INC., an Oregon Corporation,

                                              Defendant.




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                      Pursuant to the Civil Jury Trial Management Order (ECF No. 557 at 2), the Parties

           provide this Joint Neutral Statement of Case:

                      In this case, the Plaintiffs are Kelly Cahill, Lindsay Elizabeth, Sara Johnston, and Heather

           Hender. The Defendant is NIKE, Inc. The Plaintiffs were each NIKE employees at its World

           Headquarters.

                      Plaintiffs each assert that NIKE paid them less than men for substantially similar or

           comparable work or denied them promotions because of, at least in part, their sex. In addition,

           Hender alleges that NIKE retaliated against her in response to her joining this lawsuit.

                      NIKE denies all of the allegations. NIKE further asserts that, to the extent any Plaintiff

           was paid less or did not receive a promotion, it was justified by factors other than the Plaintiff’s

           sex.

                      Plaintiffs dispute that the lower pay or denial of promotions were for the reasons Nike

           asserts.

                      It is the job of the jury, based on all the evidence, to decide which explanation is more

           credible.



              Dated: February 3, 2025                     Respectfully submitted,

                                                          GOLDSTEIN, BORGEN, DARDARIAN & HO


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